USDC IN/ND case 1:07-cr-00028-WCL-RBC                  document 39         filed 07/17/07       page 1 of 2


                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF INDIANA
                                   FORT WAYNE DIVISION

 UNITED STATES OF AMERICA                        )
                                                 )
                v.                               )                CAUSE NO. 1:07-CR-28
                                                 )
 TAHITIA N. BURNETT                              )

                             FINDINGS AND RECOMMENDATION
                                OF THE MAGISTRATE JUDGE
                                 UPON A PLEA OF GUILTY

 TO:    THE HONORABLE WILLIAM C. LEE, JUDGE,
        UNITED STATES DISTRICT COURT

        Upon Defendant’s request to enter a plea of guilty pursuant to Rule 11 of the Federal Rules

 of Criminal Procedure, this matter came on for hearing before U.S. Magistrate Roger B. Cosbey, on

 July 17, 2007, with the written consents of the defendant, counsel for the defendant, and counsel for

 the United States of America.

        The hearing on defendant’s plea of guilty was in full compliance with Rule 11, Federal Rules

 of Criminal Procedure, before the Magistrate Judge in open court and on the record.

        In consideration of that hearing and the statements made by the defendant under oath on the

 record and in the presence of counsel, the remarks of the Assistant United States Attorney and of

 counsel for defendant,

        I FIND as follows:

        (1) that defendant understands the nature of the charge against her to which the plea is

 offered;

        (2) that the defendant understands her right to trial by jury, to persist in her plea of not guilty,

 to the assistance of counsel at trial, to confront and cross-examine adverse witnesses, and her right

 against compelled self-incrimination;
USDC IN/ND case 1:07-cr-00028-WCL-RBC                  document 39       filed 07/17/07    page 2 of 2


        (3) that the defendant understands what the maximum possible sentence is, including the

 effect of the supervised release term, and defendant understands that the sentencing guidelines apply

 and that the Court may depart from those guidelines under some circumstances;

        (4) that the plea of guilty by the defendant has been knowingly and voluntarily made and is

 not the result of force or threats or of promises apart from the plea agreement between the parties;

        (5) that defendant is competent to plead guilty;

        (6) that the defendant understands that her answers may later be used against her in a

 prosecution for perjury or false statement;

        (7) that there is a factual basis for the defendant’s plea; and further,

        I RECOMMEND that the Court accept the defendant’s plea of guilty and that the Defendant

 be adjudged guilty of the lesser included offense to the charge in Count 2 of the Indictment, to wit:

 simple possession of less than three grams of cocaine base “crack,” and have sentence imposed. A

 Presentence Report has been ordered. Should this Report and Recommendation be accepted and the

 Defendant adjudged guilty, sentencing has been scheduled for September 17, 2007, at 11:00 a.m.,

 before Judge William C. Lee. Objections to the Findings and Recommendation are waived unless

 filed and served within ten (10) days. 28 U.S.C. § 636(b)(1)(B); Fed. R. Crim. P. 59; L.R.

 72.1(d)(2).

        DATED this 17th day of July, 2007.


                                                        S/ Roger B. Cosbey
                                                        Roger B. Cosbey
                                                        United States Magistrate Judge




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